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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

RICHARD ALEXANDER WILLIAMS,

             Plaintiff,

v.                                          Case No. 1:13cv222-MW/GRJ

FIRST ADVANTAGE LNS
SCREENING SOLUTIONS, INC.,
f/k/a LexisNexis Screening Solutions,

          Defendant.
________________________/

               ORDER APPROVING BOND AND GRANTING
                   STAY UPON POSTING OF BOND

      This Court has considered, without hearing, Defendant’s Unopposed Motion

to Stay Enforcement of Judgment and Defendant’s Memorandum of Law in Support

of Its Motion to Stay Enforcement of Judgment. ECF Nos. 222 and 223.

Accordingly,

      IT IS ORDERED:

      1.     The Unopposed Motion to Stay Enforcement of Judgment is

GRANTED. ECF No. 222.

      2.     The proposed appeal bond in the amount of $4,100,000.00, Exhibit A,

ECF No. 223-1, is APPROVED.


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       3.     Immediately upon the posting of the appeal bond, this Court STAYS

any and all proceedings pertaining to the execution and/or enforcement of judgment

in this action.

       4.     The Stay shall remain in force during the following:

              (a)   all proceedings on appeal to the United States Court of Appeals

                    for the Eleventh Circuit;

              (b)   all proceedings related to any Petition for Writ of Certiorari to

                    The United States Supreme Court;

              (c)   any subsequent proceedings on the merits in The United States

                    Supreme Court; and

              (d)   any subsequent proceedings before this Court, either due to

                    remand or relative to the determination of any fees or costs

                    assessed by this Court.

       SO ORDERED on April 1, 2017.

                                       s/Mark E. Walker             ____
                                       United States District Judge




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